Case 2:25-cv-00197-JCZ-DPC   Document 227-26   Filed 06/17/25   Page 1 of 2




         EXHIBIT
Case 2:25-cv-00197-JCZ-DPC    Document 227-26     Filed 06/17/25   Page 2 of 2
              7:23-f                                .ii     CE


         < Details         Inventory Record                 PDF
          Ii rMJduwdy/niyiiwciy rdveu
          Yes



          Does Track Run Down a Street?
          Yes



          Is Crossing Illuminated? (Street lights within approx.
          50 feet from nearest rail)
          No



          Crossing Surface (on Main Track, multiple types
          allowed) - Installation Date
          N/A


          Crossing Surface - Width
          N/A


          Crossing Surface - Length
          N/A


          Crossing Surface (Specify Type)
          2. Asphalt


          Other Crossing Surface
          N/A


          Intersecting Roadway within 500 feet?
          Yes




          If Yes, Approximate Distance (feet)
          N/A


          Smallest Crossing Angle
          60-90 degrees


          Is Commercial Power Available?
          Yes




         Part V: Public Highway Information
